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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 2:16-cv-07937-JLS-AJW                                         Date: September 17, 2020
 Title: United States of America et al v. INSYS Therapeutics, Inc., et al
  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Melissa Kunig                                                     N/A
        Deputy Clerk                                                Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                ATTORNEYS PRESENT FOR DEFENDANT:

               Not Present                                          Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER (1) GRANTING RELATOR’S
              MOTION FOR LEAVE TO AMEND THE COMPLAINT
              (DOC. 85) AND (2) DENYING AS MOOT DEFENDANTS’
              MOTION TO EXTEND TIME TO ANSWER (DOC. 99) AND
              MOTION TO DISMISS (DOC. 112)

        Before the Court is Relator-Plaintiff’s Motion for Leave to File a Second
 Amended Complaint. (Mot., Doc. 85.) The Belhealth Defendants and Linden
 Defendants opposed. (Belhealth Opp., Doc. 114; Linden Opp., Doc. 111.) Relator-
 Plaintiff timely replied. (Belhealth Reply, Doc. 118; Linden Reply, Doc. 119.) Having
 taken this matter under submission, the Court now GRANTS Relator’s motion.

         I.      BACKGROUND
         The above-captioned matter is one of five related actions in this Court against
 Insys under the qui tam provisions of the False Claims Act (“FCA”), 31 U.S.C.
 § 3730(b), and several of its state-law counterparts.
         In October 2016, Relator Melina Ebu-Isaac—suing as “Jane Doe” at the time of
 filing—brought suit in this Court against Insys Therapeutics Inc. (a pharmaceutical
 company that manufactured and sold Subsys, an opioid painkiller) and Linden Care LLC
 (a retailer that distributed Subsys). (See Compl., Docs. 1, 1-1.) The sealed complaint
 alleged, in relevant part, that Insys promoted and sold Subsys through an illegal scheme
 that involved payment of kickbacks to prescribers and patients, lying to federal healthcare
 programs to obtain approval for payment, and promoting Subsys for inappropriate off-
 label uses. (Compl. ¶ 10.) The complaint further alleged that Linden Care knowingly
 helped Insys’s unlawful scheme to push the opioid by dispensing prescriptions in

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 violation of federal regulations and mislabeling prescription medicines, among other
 things. (Compl. ¶ 14.)
        In April 2018, after extending the seal and the period to elect to intervene several
 times, the United States filed a complaint, intervening only as to the claims against Insys.
 (See Docs. 24, 27, 28, 30.) On May 11, 2018, the Court unsealed this and related matters,
 and stayed them pending resolution of related criminal proceedings against Insys. (See
 Doc. 29.) That order required the government to file a status report on the criminal
 proceedings every ninety days and permitted Relator to file an amended complaint on any
 declined portions of the action within ninety days notwithstanding the stay. (Id. at 6.)
        On August 13, 2018, Relator in this matter timely filed a First Amended
 Complaint (“FAC”). The FAC names, in addition to Linden Care LLC, two other Linden
 Care entities—Linden Care, Inc., and Linden Care Holdings, Inc. (collectively “Linden
 Defendants”). It also names as defendants certain Belhealth entities1that acquired and
 managed Linden Care LLC beginning in July 3, 2013, and that incorporated the other two
 Linden entities shortly before that acquisition. (See FAC, Doc. 56.)
        On May 1, 2020, the United States filed a status report that summarized the
 outcomes of the related criminal proceedings and indicated that a stay was no longer
 necessary. (Doc. 79.) By this time, the United States had also reached a settlement
 agreement with Insys regarding this and related FCA actions. On June 11, 2020, the
 Court dismissed the claims against Insys and lifted the stay on all remaining claims
 pursuant to a stipulation between the United States, the intervening States, and Relators.
 (Doc. 82.) That order further instructed Relators to serve their operative complaints and
 move their cases forward against the remaining defendants. (Id.) As a result of the
 dismissal, the Belhealth and Linden entities are the only Defendants that remain in this
 matter.
        Relator now moves for leave to file a Second Amended Complaint (“SAC”).

        II.   LEGAL STANDARD
        “Rule 15(a) of the Federal Rules of Civil Procedure provides that, after the initial
 period for amendments as of right, pleadings may be amended only by leave of court,

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  Those entities are Belhealth Investment Partners, LLC, Belhealth Investment Management,
 LLC, and Belhealth Investment Fund, LP (collectively “Belhealth Defendants”).
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 which ‘leave shall be freely given when justice so requires.’” Ditto v. McCurdy, 510
 F.3d 1070, 1078–79 (9th Cir. 2007) (quoting Rule 15(a)). A district court “determines
 the propriety of a motion to amend [under Rule 15] by ascertaining the presence of any of
 four factors: bad faith, undue delay, prejudice to the opposing party, and/or futility.”
 Serra v. Lappin, 600 F.3d 1191, 1200 (9th Cir. 2010).

         III. DISCUSSION
         Relator seeks to file a Second Amended Complaint (“SAC”), adding factual
 details to her allegations that the Belhealth Defendants were directly and knowingly
 involved in the unlawful scheme to distribute Subsys through their operation of the
 Linden entities beginning in 2013. (See Proposed SAC, Doc. 85, ¶¶ 3, 19–20, 229–57.)
 According to the Proposed SAC, Belhealth’s high-ranking officers were involved in
 discussions regarding marketing of Subsys, and Linden substantially increased its
 distribution and sale of Subsys through Belhealth’s direction and involvement. (Id. ¶¶
 237, 242.) The Proposed SAC further alleges that, once criminal proceedings against
 Insys commenced, Belhealth “transferred the assets and the business of LINDEN CARE
 to another Company it owned, Quick Care Pharmacy, Inc., to avoid liability.” (Id. ¶ 247.)
         The Belhealth and Linden Defendants oppose, each arguing that the proposed
 amendments are futile because they fail to state a claim for which relief may be granted.
 (Belhealth Opp. at 18–26; Linden Opp. at 9–21.) The Belhealth Defendants additionally
 argue that Relator’s failure to comply with the FCA’s sealing and service requirements
 warrants dismissal of the operative complaint and renders further amendments futile.
 (Belhealth Opp. at 10–18.) Finally, the Linden Defendants argue that the FAC and
 proposed SAC violate this Court’s May 11, 2018 order, because that order permitted
 Relator to amend her complaint only as to “any declined portions of the action” and the
 subsequently-filed FAC named additional Linden entities that were not yet named when
 the United States intervened; therefore, Linden reasons, Relator violated this Court’s
 order by filing a FAC that went beyond the “declined portions of the action.” (Linden
 Opp. at 6–9.) The Court considers each argument in turn.
         First, Linden and Belhealth’s joint attack on the sufficiency of Relator’s claims is
 unavailing. A proposed amendment is futile only if “no set of facts can be proved under
 the amendment that would constitute a valid claim or defense.” Abels v. JBC Legal Grp.,
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 P.C., 229 F.R.D. 152, 157 (N.D. Cal. 2005). “Ordinarily, courts will defer consideration
 of challenges to the merits of a proposed amended pleading until after leave to amend is
 granted and the amended pleading is filed.” Ashcraft v. Welk Resort Grp., Corp., No.
 2:16-CV-02978J-AND (JK), 2018 WL 357850, at *3 (D. Nev. Jan. 10, 2018).
         As this Court has previously noted, “the preferred course [particularly] where the
 challenge concerns the sufficiency of the factual allegations rather than a legal bar” is to
 hear challenges to the sufficiency of the pleadings on a 12(b)(6) motion. Patel v. Cty. of
 Orange, No. 8:17-CV-01954-JLS (DFM), 2018 WL 9537313, at *2 (C.D. Cal. Sept. 19,
 2018) (Staton, J.) (internal citations omitted); cf. Abels, 229 F.R.D. at 157 (considering
 futility arguments where the defendant challenged the timeliness of the claims under the
 applicable statute of limitations). Here, Relator’s detailed complaint alleges specific
 wrongdoing by the Belhealth and Linden Defendants. (See FAC.) Her now-dismissed
 allegations against at least one entity—Insys—proved meritorious. At least on these set
 of facts, the Court finds no occasion to depart from the “preferred course,” and therefore
 finds Defendants’ futility arguments premature at this stage. Patel, 2018 WL 9537313, at
 *2.
         Second, Belhealth argues that the action should be dismissed with prejudice,
 because Relator failed to file the FAC under seal or serve it on the government as
 required by the FCA. (See 31 U.S.C. § 3730(b)(2); Belhealth Opp. at 10–16.) In support,
 Belhealth cites a string of inapposite decisions that involve dismissal of a relator’s FCA
 complaint where the relator never filed her original complaint under seal or where she
 failed to serve the government entirely. (Belhealth Opp. at 12–13.) But, here, Relator’s
 original complaint did comply with the FCA’s sealing and service requirements. (See
 Doc. 29.) Belhealth’s opposition fails to distinguish decisions, including from courts in
 this district, finding that an amended FCA complaint need not comply with pre-suit
 requirements when its allegations are substantially similar to those of the original
 complaint. United States v. Walgreen Co., No. CV09-1293 PSG PJWX, 2017 WL
 10591756, at *3 (C.D. Cal. May 1, 2017) (“Courts in this and other circuits have
 concluded that sealing an amended complaint is not required where the amended
 complaint is substantially similar to the original complaint because the Government has
 had an opportunity to investigate.”); E. Bay Mun. Util. Dist. v. Balfour Beatty


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 Infrastructure, Inc., No. 13-CV-02032-WHO, 2014 WL 2611312, at *3 (N.D. Cal. June
 11, 2014).
        Here, the amendments in the FAC and the proposed SAC relate to the same
 unlawful scheme laid out in the original complaint. At heart, the original complaint
 alleged that Insys marketed Subsys through an illegal scheme and that Linden Care
 knowingly aided that unlawful scheme by dispensing prescriptions in violation of federal
 regulations and by mislabeling prescription medicines, among other things, and that it
 received improper government payments as a result. (See Compl. ¶¶ 5, 10, 14.) The
 FAC, filed over two years ago, added that Belhealth—the company that owned and
 operated Linden Care at all relevant times—directed Linden Care’s unlawful acts. (See,
 e.g., FAC ¶¶ 204, 207, 211.) The proposed SAC further Belhealth’s direct involvement
 in marketing Subsys, Linden Care’s increased distribution of Subsys under Belhealth’s
 direction, and Linden Care’s revenue from Subsys. (Proposed SAC ¶¶229–57.) Relator
 does not add new claims nor does she name as defendants any entities unrelated to
 Linden Care.
        “The sealing requirement is primarily intended to benefit the government by
 allowing the government to study the claims for possible intervention. Any benefit to the
 defendant is incidental.” E. Bay Mun. Util. Dist., 2014 WL 2611312, at *3. Here, the
 Relator’s original complaint put the government on notice of Linden Care’s potential
 involvement with Insys’s unlawful scheme and gave it the opportunity to investigate
 Linden Care’s affiliates, including the Belhealth entities. Notably, the government then
 had two years to investigate the FAC—which added the Belhealth entities as
 defendants—but has not intervened, nor does it argue that it was denied an opportunity to
 investigate the claims against the Belhealth entities. Indeed, the government does not
 oppose Relator’s motion for leave to file a SAC. (Doc. 110.) Relator’s alleged failure to
 comply with the seal and service requirements of the FCA is therefore no grounds to
 dismiss the FAC or deny her leave to file the SAC.
        Finally, the Linden Defendants’ reliance on this Court’s May 11, 2018 order is
 misplaced. (Linden Opp. at 6–9.) Contrary to Linden’s assertion, that order—which
 granted Relator in this and related matters leave to file an amended complaint on “any
 declined portions of the action”—was silent on whether Relators could add new
 defendants. (See id. at 8.) The Relator timely filed a FAC that added Linden and
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 Belhealth entities—all of which were related to the already-named Linden entity through
 ownership or shared management—and alleged facts against them that relate to the
 “declined portions of the action”: the original complaint’s allegations that Linden aided
 Insys in pushing Subsys through illegal means. (See Compl. ¶14; FAC ¶¶ 13, 21.) The
 Court therefore finds that Relator’s amendments complied with its May 11, 2018
 directive.
        In accordance with Rule 15(a)(2)’s liberal policy for allowing amendments to
 pleadings, see Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir.
 2003), the Court GRANTS Relator’s motion.

        IV. CONCLUSION
        Accordingly, Relator’s Motion for Leave to Amend is GRANTED. (Doc. 85.)
 Defendants’ motion to extend time to respond to the FAC is DENIED AS MOOT. (Doc.
 99.) The Belhealth Defendants’ motion to dismiss the FAC is DENIED AS MOOT.
 (Doc. 112.) Relator is instructed to file the SAC within seven (7) days of this Order.

                                                                      Initials of Preparer: mku




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